                            Case 3:20-mj-00127                          Document 12         Filed 08/24/20        Page 1 of 1


AO 442 (Rev. 11/1 I) Arrest Warrant
                                                                                                                         ORIG11~AL
                                                      UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                            District of Oregon
                                                                                            FILED24 AUG '20 09:49USDC·ORP
                   United States of America
                                      V.                                            )
                                                                                    )       Case No. 3:20-mj-00127
                                                                                    )
                DAVID AARON SHELOFSKY                                               )
                                                                                    )
                                                                                    )
                                   Defendant


                                                                      ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)  David Aaron Shelofsky
                               ----------'----------------------------
who is accused of an offense or violation based on the following document filed with the comi:

0 Indictment               0        Superseding Indictment                 0 Information         0 Superseding Information           rs/ Complaint
0 Probation Violation Petition                              0 Supervised Release Violation Petition      0 Violation Notice          O Order of the Court

This offense is briefly described as follows:
  Wire Fraud and Money Laundering.




Date:          06/04/2020


City and state:        Portland, OR
                                                                                                            Printed name and title


                                                                                 Return

           This warrant was received on (date)
at (city and state)
                                                          DATE_l()_l;d.-k~~::.;;;..---
Date:                                                     ARRES
                                                    ~

                                                 ' ..,
                                                .:It'{'
                                              '"q,~~I
                         .,->,~e     C   ,.    : Q--·/

                         '~,;~\~/
